Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 1 of 30 PageID #: 12988




                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF LOUISIANA
                                   LAKE CHARLES DIVISION


   MICHAEL ASHFORD                                    :          CIVIL ACTION NO. 14-cv-992

                                                      :
   VERSUS                                                        JUDGE WALTER
                                                      :

   AEROFRAME SERVICES, LLC, ET AL.                    :          MAGISTRATE JUDGE KAY


                                     FINAL REPORT AND
                                RECOMMENDATION ON SANCTIONS


              The issue before us is the proper amount of sanctions to be assessed pursuant to a Motion

   for Sanctions previously filed in this matter. Doc. 159. The court has already determined that

   sanctions are appropriate. Docs. 283, 294. The remaining question is the sanctions quantum. The

   district judge referred this matter to the undersigned for review, report, and recommendation

   regarding the amount of sanctions in accordance with the provisions of 28 U.S.C. § 636. Doc. 296.

              After consideration of the memoranda in support of and in opposition to ATS’s suggested

   amount of sanctions and for the reasons stated below, IT IS RECOMMENDED that judgment be

   rendered herein in favor of AVIATION TECHNICAL SERVICES, INC. jointly and severally

   against SOMER BROWN, THOMAS A. FILO, ROGER A. PORTER, and AEROFRAME

   SERVICES, LLC, in the full and true sum of ONE MILLION SEVEN HUNDRED FIFTY-ONE

   THOUSAND ONE HUNDRED THIRTY-SIX AND 94/100 ($1,751,136.94) DOLLARS, 1

   together with interest under 28 U.S.C. § 1961, running from the date of judgment until paid.




   1
       See Doc. 327.

                                                     -1-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 2 of 30 PageID #: 12989




                                                           I.
                                                   BACKGROUND

           Aviation Technical Services, Inc. moved for sanctions against plaintiff Michael Ashford;

   Aeroframe Services, LLC (“Aeroframe”); Roger Porter, attorneys Thomas Filo, Somer Brown,

   Richard T. Haik, Jr., Joseph P. Williams, Sr., and Richard B. Williams; and the law firms Cox,

   Cox, Filo & Wilson; Morrow, Morrow, Ryan Basset & Haik; and Williams Family Law, LLC.

   Doc. 159. We recommended that the district court grant ATS’s Motion for Sanctions in part,

   reasoning that Aeroframe, Brown, Filo, and Porter (collectively, the “Respondents”) had colluded

   in bringing meritless claims against ATS. Doc. 283.                     The district judge adopted those

   recommendations. Doc. 294. We will not reiterate here the findings of fact underlying the

   sanctions recommendation. For a detailed recitation of the sanctionable conduct occurring before

   the Spring of 2020, reference should be made to the original Report and Recommendation on

   Sanctions and the district judge’s adoption of the same. Docs. 283, 294.

           After the district judge adopted our original Report and Recommendation [doc. 294], the

   remainder of the issues were referred to us to determine an appropriate amount of sanctions. Doc.

   296. We gave ATS the opportunity to suggest an amount of sanctions 2 and Respondents have filed

   memoranda in opposition to ATS’s suggestions.3 An evidentiary hearing was held on August 10,



   2
    See ATS’s Memorandum Suggesting Appropriate Sanctions Against the Sanctioned Parties [doc. 299]; Supplemental
   Declaration of R. Patrick Vance [doc. 302]; ATS’s Supplemental Memorandum Suggesting Appropriate Sanctions
   Against the Sanctioned Parties [doc. 311]; ATS’s Reply to the Sanctioned Parties’ Oppositions to ATS’s Original and
   Supplemental Memorandum Suggesting Appropriate Sanctions [doc. 320]; and ATS’s Second Supplemental
   Memorandum Suggesting Appropriate Sanctions Against the Sanctioned Parties [doc. 327].
   3
    See Respondent Aeroframe Services, LLC’s Memorandum in Opposition to ATS’ Request for an Award of Monetary
   Sanctions [doc. 315]; Respondent Roger A. Porter’s Opposition to Aviation Technical Services’ Memorandum
   Suggesting Appropriate Sanctions Against the Sanctioned Parties and Supplemental Memorandum [doc. 316];
   Respondents Thomas A. Filo and Somer G. Brown’s Response to Aviation Technical Services, Inc.’s Memorandum
   Suggesting Appropriate Sanctions [doc. 317]; Respondents Thomas A. Filo and Somer G. Brown’s Response to
   Aviation Technical Services, Inc.’s Second Supplemental Memorandum Suggesting Appropriate Sanctions Against
   the Sanctioned Parties [doc. 331]; Respondent Roger A. Porter’s Memorandum in Opposition to Aviation Technical
   Services’ Second Supplemental Memorandum Suggesting Appropriate Sanctions Against the Sanctioned Parties [doc.

                                                           -2-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 3 of 30 PageID #: 12990




   2021 [docs. 328, 335], in which the court accepted the exhibits offered by ATS in support of its

   motion for sanctions. Doc. 328, 329. Having considered the above-listed submissions, the court

   is now ready to issue a recommendation.

           In issuing this recommendation, the undersigned notes that in the months that followed the

   original Report and Recommendation on Sanctions, the Respondents have engaged in additional

   activity that further justifies the sanctions issued today. This section therefore supplements our

   original findings of fact to add additional findings regarding this recent activity. As a result of

   Respondents’ continued “shenanigans,” 4 judicial resources have been wasted in the following

   ways. The following section pertains only to activity occurring after spring 2020.

       A. Findings regarding Respondents’ conduct following the original sanctions
          determination

           1. Continued misrepresentations

           In the original report and recommendation on sanctions, we cautioned Respondents that

   Rule 3.3 of the Rules of Professional Conduct of the Louisiana State Bar Association, as adopted

   by the United States District Court for the Western District of Louisiana, imposes a duty of candor

   on attorneys, and that the duty of candor includes the duty not to mislead through errors omission,

   half-truths, or otherwise. Doc. 283, pp. 31-32. Respondents have continued to violate this duty

   by insisting without foundation that they have been prevented from conducting reasonable

   discovery in these matters.




   332]; and Respondent Aeroframe Services, LLC’s Supplemental Memorandum in Opposition to ATS’s Request for
   an Award of Monetary Sanctions Including ATS’ Supplemental Invoices Filed in the Record [doc. 334].
   4
    Ashford v. Aeroframe Servs., L.L.C., 907 F.3d 385, 398 (5th Cir. 2018) (“These cases have more than a whiff of
   professional impropriety and shenanigans.”)(Jones, J., dissenting) (discussing majority opinion ordering remand of
   “Ashford 1”).

                                                          -3-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 4 of 30 PageID #: 12991




              In October 2020, ATS filed a Motion for Summary Judgment as to the claims of the non-

   ATS parties in Ashford 2. 5 2:19-cv-610, doc. 92. In connection with Ashford’s Opposition to the

   Motion for Summary Judgment, he submitted a Statement of Contested Facts that states “[b]ecause

   Plaintiffs’ have not been able to conduct discovery in response to ATS’s motion, they are unable

   to address many of the facts set forth in detail. Plaintiffs have requested additional time and will

   supplement his [sic] filing if the Court permits time for discovery.” Ashford 2, 2:19-cv-610, doc.

   96, att. 1. Plaintiffs have not been denied the opportunity to conduct discovery. Although the only

   discovery that had taken place at that point by any party other than ATS were the Seattle

   depositions of ATS in 2014, nothing has stopped plaintiffs from conducting discovery in any

   proceeding since litigation began in 2013 and 2014.

              In March of 2021, Aeroframe filed a Motion for Leave to File Request to Conduct

   Discovery Relative to the Wage Claims against Aeroframe Services, LLC. Ashford 2, 2:19-cv-

   610, Doc. 106. Aeroframe claimed to need court permission to conduct the discovery because it

   interpreted a 2017 order and memorandum ruling in Ashford 1 to have prohibited discovery,

   saying, “it appears that the Court initially authorized the parties to begin discovery, but then

   entered an order that appears to have reversed its prior decision.” Ashford 2, 2:19-cv-610, Doc.

   106, pp. 1-2 (referencing Ashford 1, 2:14-cv-992, docs. 103, 104). In ruling on the request to

   conduct discovery, the court noted that nothing in either referenced ruling [docs. 103, 104] would

   cause anyone to think that the court curtailed discovery Ashford 1 or any other matter. We clarified

   that, in fact, in doc. 103, “the district court partially granted a request to consolidate the cases but

   allowed the consolidation for discovery purposes only and further stated that the parties ‘may begin




   5
       Ashford v. Aeroframe Servs., LLC, No. 2:19-cv-610 (“Ashford 2”) Doc. 92 (W.D. La. Oct. 6, 2020).

                                                            -4-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 5 of 30 PageID #: 12992




   discovery immediately.’” Ashford 2, 2:19-cv-610, Doc. 109, p. 2 (citing Ashford 1, 2:14-cv-992,

   doc. 103, p. 4).

            Aeroframe’s March 2021 motion to conduct discovery in Ashford 2 was granted in part

   and denied in part. 6 Ashford 2, 2:19-cv-610, Doc. 110. In short, the court expressed skepticism

   as to why it had taken Aeroframe several years to request the information and why the information

   could not be obtained via discovery directed to Aeroframe’s employees. Rather than compelling

   ATS to produce the requested information at its own expense, the court ordered that Aeroframe

   could contact the litigation hold specialist retained by ATS who had possession of the requested

   information, and Aeroframe could pay to have the responsive information reproduced. Ashford 2,

   19-cv-601, docs. 109, 110. Aeroframe never appealed this ruling to the district court.

            Despite the court’s explicit clarification that nothing had curtailed discovery in either of

   the Ashford cases and that the court was allowing the discovery at Aeroframe’s expense,

   Aeroframe then characterized the discovery ruling as a “refus[al] to allow discovery upon opposing

   party, ATS.” Cooley v. Aeroframe Servs., LLC et al., 2:14-987, Doc. 80, p. 5 (responding to ATS’s

   Motion for Summary Judgment). As a result, Aeroframe claimed to be “unable to confirm or deny

   the exact amount of wages currently due and owed to each plaintiff.” 7 Id. Aeroframe then




   6
     As explained in the Memorandum Ruling accompanying the discovery order, Aeroframe had requested that ATS
   copy Aeroframe business records found on hard drives in ATS’s possession via operation of the Strict Foreclosure
   Agreement signed by Aeroframe and ATS. Aeroframe claimed to need its business records to defend itself against
   the claims of the plaintiff-employees. Since ATS was a stranger to the claim between plaintiff-employees and
   Aeroframe—the claim for which the discovery was allegedly sought—we ruled that Aeroframe could contact the
   litigation hold specialist retained by ATS who had possession of the computers and have copies made of the hard
   drives at ATS’s expense. That is to say, the court declined to order ATS to pay for the cost of replication of the hard
   drives that Aeroframe claimed it needed to defend against its former employees’ claims. Ashford 2, 19-cv-006, doc.
   109.
   7
     This, despite the fact that the interests of Aeroframe and the employee-plaintiffs have been aligned from the
   beginning of the suit. See Doc. 283, pp 27-28.

                                                            -5-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 6 of 30 PageID #: 12993




   compounded this sanctionable and self-serving mischaracterization of the court’s ruling by

   adopting its Cooley opposition in 12 other cases. 8

              2. Continued waste of judicial resources through synchronized, multiplied, and/or ill-
                 considered pleading

              In the original ruling on sanctions, we noted that the proclivity of Respondents to file

   “separate motions and memoranda throughout this proceeding that all made the same arguments [

   . . . ] does indeed constitute unreasonable and vexations multiplication of the proceedings.” Doc.

   283, p. 35. They continued to do so after the May 29, 2020, sanctions ruling. For example, after

   ATS moved to consolidate all Aeroframe cases involving the Cox Firm into Ashford 2 for purposes

   of consideration of the ATS Motion for Summary judgment (doc. 72), 9 Porter, Ashford, and

   Aeroframe, each opposed on the basis that the court lacks subject matter jurisdiction. Docs. 79,

   83, and 84. Each also filed a Motion for Certificate of Appealability on the denial of remand in

   Ashford 2. Doc. 73 (Ashford), doc. 74 (Porter), doc. 75. (Aeroframe).

              Respondents’ carelessness also exacerbated the inefficiency resulting from the

   unnecessarily multiplied leadings. In June 2021, the court issued a judgment in each formerly-

   consolidated case, adopting the Report and Recommendations granting in part and denying in part

   ATS’s motion for summary judgment. Ashford 2, 2:19-cv-610, Doc. 119. In response, the

   plaintiffs filed a Motion for Entry of Judgment in 15 Aeroframe dockets. 10 See, e.g., Cooley, 2:14-



   8
     See 14-cv-983, doc. 102 (Warner); 14-cv-984, doc. 91 (Adams); 14-cv-985, doc. 93 (Boring); 14-cv-986, doc. 96
   (Cleaves); 14-cv-988, doc. 91 (Gallow); 14-cv-989, doc. 83 (Decolongon); 14-cv-990, doc. 82 (Blanton); 14-cv-991,
   doc. 82 (Rackard); 14-cv-2323, doc. 78 (Morvant); 14-cv-2324, doc. 79 (Coley); 14-cv-2325, doc. 80 (Cogdill); 14-
   cv-2538, doc. 92 (Barreda).
   9
       The motion was granted as to all but 16-1512, Day. Doc. 87.
   10
     See 14-cv-983, doc. 89 (Warner); 14-cv-984, doc. 79 (Adams); 14-cv-985, doc. 80 (Boring); 14-cv-986, doc. 84
   (Cleaves); 14-cv-987, doc. 85 (Cooley); 14-cv-988, doc. 79 (Gallow); 14-cv-989, doc. 72 (Decolongon); 14-cv-990,
   doc. 71 (Blanton); 14-cv-991, doc. 78 (Rackard); 14-cv-992, doc. 321 (Ashford 1); 14-cv-2323, doc. 66 (Morvant);
   14-cv-2324, doc. 67 (Coley); 14-cv-2325, doc. 68 (Cogdill); 14-cv-2538, doc. 80 (Barreda); and 19-cv-610, doc. 122
   (Ashford).

                                                            -6-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 7 of 30 PageID #: 12994




   cv-987, Doc. 85. In each motion plaintiffs claim that “All issues as to Plaintiffs have been decided”

   and “The Court’s recent judgment, resolves each and every claim of the Plaintiffs in the

   consolidated cases [ . . . ] leaving no issue to be determined with respect to the original Plaintiffs.”11

   See id. In each case but Ashford, the district court, relying on plaintiffs’ assertions that all issues

   between plaintiffs and defendants were resolved, granted the motion. See, e.g., Cooley, 2:14-cv-

   987, Doc. 87. The following day, the plaintiffs moved to amend the judgments they had requested

   because, despite the language of their motions, not all issues had been resolved. See, e.g., Cooley,

   2:14-cv-987, Doc. 91. The court then had to rescind these orders and deny the motions to certify.

   See, e.g., Cooley, 2:14-cv-987, Docs. 91, 92. Despite the lack of final judgment, plaintiffs then

   filed a notice of appeal in each of these cases, a total of 14 appeals. Each appeal was dismissed

   for lack of jurisdiction. See, e.g., Cooley, 2:14-cv-987, Doc. 97.

            In isolation, and on a single docket, the episode just recounted could be dismissed as an

   unfortunate error, but when viewed alongside other episodes of carelessness 12 and disregard for

   the court’s attempts to inject order into the proceedings, 13 and in the context the unnecessary


   11
     Aeroframe and Porter each filed an identical motion in Ashford 2 only, merely substituting their own names in the
   place of “plaintiffs.” Ashford 2, 2:19-cv-610, doc. 124 (Aeroframe), doc. 127 (Porter).
   12
      In another example of carelessness: in attempting to bring these matters to a close, the court ordered (in each case
   except Cooley, Neathammer, Jackson, and Day) plaintiffs to file motions for summary judgment against Aeroframe
   or face dismissal for failure to prosecute. See, e.g., Barreda et al v. Aeroframe Services L.L.C. et al., 2:14-cv-2538,
   doc. 88. Rather than taking the court’s suggestion that Plaintiffs and Aeroframe could save themselves and the court
   the trouble by simply confecting an agreement as to how much Aeroframe owed plaintiffs, plaintiffs filed individual
   motions for summary judgment adopting their arguments in Cooley. See, e.g., Barreda et al v. Aeroframe Services
   L.L.C. et al., 2:14-cv-2538, doc. 88. The initial filings submitted affidavits that simply stated what plaintiffs had
   earned while working for Aeroframe, and left it to the court to do the math with respect to the full value of their claims.
   See, e.g., Barreda et al v. Aeroframe Services L.L.C. et al., 2:14-cv-2538, doc. 89 (and attachments). The court ordered
   amendment in each matter, requiring that “plaintiffs are to amend their memorandum in support of their motion to set
   forth the total amount claimed by each. The total amount is to be further broken down by for wages, for penalties, and
   for attorney fees only. The court will not do any math for plaintiffs.” See, e.g., Barreda et al v. Aeroframe Services
   L.L.C. et al., 2:14-cv-2538, doc. 95. Although the resulting submissions allowed the court to grant summary judgment
   as to some of the individual plaintiffs’ claims, numerous flaws (which will not be detailed here) made that impossible
   for some plaintiffs. See, e.g., Barreda et al v. Aeroframe Services L.L.C. et al., 2:14-cv-2538 (February 2022 order
   on motion for summary judgment).
    Each of the Respondents violated a direct order to refrain from raising subject matter jurisdiction as a defense to
   13

   ATS’s motion for summary judgment on the merits. In preparation for consideration of ATS’s motion for summary

                                                              -7-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 8 of 30 PageID #: 12995




   procedural complexity of these matters, this conduct is not excusable. Plaintiffs’ counsel’s

   carelessness also supports our previous conclusions that counsel was not truly interested in the

   claims of these plaintiff-employees but instead was focused on the overall plan to get to ATS’s

   deep pockets.

       B. Today’s Recommendation

            To summarize, we recommend today that the entirely of ATS’s legal fee submissions from

   May 1, 2014, to July 31, 2021, be levied as a sanction against the Respondents, jointly and

   severally. We take this extraordinary step for the reasons outlined below. Respondents’ continued

   indifference to their obligation to ensure the efficient administration of justice 14 reassures us that

   this sanction is the least restrictive means of correcting this ongoing behavior and compensating

   ATS for needlessly generated litigation expenses.                   It is difficult to succinctly summarize




   judgment on the merits in the now consolidated case [Ashford 2, 2:19-cv-610, doc. 92], we issued an admonition to
   the parties and forbade them from making any argument as to subject matter jurisdiction. Doc. 95. The order stated:
            [Regarding ATS’s Motion for Summary Judgment]: No response to this motion filed by any party
            is to contain any argument as to this court’s subject matter jurisdiction. Argument and evidence to
            support that argument is to be limited to the merits. All non-ATS litigants, by timely moving for
            remand, did all that was required to preserve objections to removal. Caterpillar Inc. v. Lewis, 519
            U.S. 61; 117 S. Ct. 467, 475; 136 L.Ed.2d 437 (1996). Any further attempts to argue this court’s
            subject matter jurisdiction will be considered a violation of this order and will be ignored.
    Id. As explained in the ruling on the motion for summary judgment, “[t]his was done to stop the endless regurgitation
   by non-ATS litigants of their claims that we lack subject matter jurisdiction to consider the motion—claims that they
   have made at every turn and in unison—and to limit them to the merits (or lack thereof) of their claims against ATS.
   This direct order was violated by each non-ATS litigant.” Ashford 2, 2:19-cv-610, Doc. 111, p. 9.
   14
      See FED. R. CIV. P. 1 (amended 2015). As amended in 2015, Rule 1 charges both the court and the parties to employ
   the Federal Rules of Civil Procedure to “to secure the just, speedy, and inexpensive determination of every action and
   proceeding.” The Advisory Committee notes clarify that Rule 1 was “amended to emphasize that just as the court
   should construe and administer these rules to secure the just, speedy, and inexpensive determination of every action,
   so the parties share the responsibility to employ the rules in the same way. Most lawyers and parties cooperate to
   achieve these ends. But discussions of ways to improve the administration of civil justice regularly include pleas to
   discourage over-use, misuse, and abuse of procedural tools that increase cost and result in delay. Effective
   advocacy is consistent with -- and indeed depends upon -- cooperative and proportional use of procedure. This
   amendment does not create a new or independent source of sanctions. Neither does it abridge the scope of any other
   of these rules.” (emphasis added).

                                                            -8-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 9 of 30 PageID #: 12996




   Respondents’ course of conduct that necessitates these sanctions, which is why repeated reference

   will be made to the original Report and Recommendation on sanctions. Doc. 283.

           We have, over the years, noticed an increased willingness of attorneys to cut corners on

   truth, to parse and palter in order to hide information unfavorable to their position. Whether or

   how there will be a reversal of this trend is unknown, but one thing that cannot change is that

   practitioners of the law must be held to the highest standard of conduct. While it is true that the

   court exercises certain inherent powers by virtue of its role as a forum of justice, it is also true that

   the court is inherently reliant on the good faith and candor of those who practice law. The integrity

   of the court as a forum of justice rises or falls with the integrity of the legal profession. Sanctions

   like this are designed to deter similar conduct of others beside those being sanctioned. See Brown

   v. Oil States Skagit Smatco, 664 F.3d 71, 78-80 (5th Cir. 2011). The conduct sanctioned today falls

   far below the expected standards of good faith and professionalism required to practice law before

   this forum.

                                                   II.
                                             APPLICABLE LAW

           The original Report and Recommendation on Sanctions sets forth the applicable law in

   detail. Docs. 283, 294. We reiterate the general principles underpinning the decision to impose

   sanctions as a preface to the discussion of how this law applies to Respondents’ more recent

   behavior.

           There are three important mechanisms by which federal courts impose sanctions: FED. R.

   CIV. P. 11, 28 U.S.C. § 1927, and the court’s inherent powers. Rule 11 of the Federal Rules of

   Civil Procedure allows a court to impose sanctions on an attorney or law firm for violations

   stemming from the attorney’s improper submission to the court of pleadings, motions, or other

   papers in violation of Rule 11(b). Rule 11 sanctions may be imposed against any person or entity

                                                      -9-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 10 of 30 PageID #: 12997




   who was responsible for the violation, including non-attorneys. Bus. Guides, Inc. v. Chromatic

   Commc'ns Enters., Inc., 111 S. Ct. 922, 929 (1991). Section 1927 permits sanctions for the excess

   costs, expenses and attorney’s fees reasonably incurred because of an attorney’s unreasonable and

   vexatious multiplication of the proceedings. 28 U.S.C. § 1927. These sanctions may only be

   imposed upon attorneys. Browning v. Kramer, 931 F.2d 340, 344 (5th Cir. 1991). Imposition

   requires “a showing of improper purpose.” F.D.I.C. v. Calhoun, 34 F.3d 1291, 1300 (5th Cir.

   1994).

            Outside of Rule 11 and Section 1927, Federal courts possess the inherent power to “manage

   their own affairs so as to achieve the orderly and expeditious disposition of cases” giving them the

   authority to “fashion an appropriate sanction for conduct which abuses the judicial process.”

   Chambers v. NASCO, Inc., 111 S. Ct. 2123, 2132-33 (1991). Courts may use their inherent power

   to sanction when the parties’ conduct is not controlled by other mechanisms. Smith v. Am.

   Founders Fin., Corp., 365 B.R. 647, 680-81 (S.D. Tex. 2007) (citing Natural Gas Pipeline Co. of

   Am. v. Energy Gathering, Inc., 2 F.3d 1397, 1408 (5th Cir.1993)). A court should use its inherent

   power to sanction “only when ‘in the informed discretion of the court, neither the statute nor the

   Rules are up to the task ... [.]’” Allstate Ins. Co. v. Mader, 201 F. App’x 261, 265 (5th Cir.

   2006)(quoting Chambers, 111 S. Ct. at 2136).

            Sanctions issued under the court’s inherent authority are limited in value to the harm caused

   by the sanctioned conduct, but they may be imposed on any individual responsible for that conduct.

   The sanction should be specifically tailored to redress the harm suffered by the aggrieved party.

   Goodyear Tire & Rubber Co. v. Haeger, 137 S. Ct. 1178, 1186 (2017) (noting that under inherent

   power, “the court can shift only those attorney’s fees incurred because of the misconduct at issue”).

   The sanction imposed should be the “least severe sanction adequate to achieve the desired result.”



                                                    -10-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 11 of 30 PageID #: 12998




   Scaife v. Associated Air Ctr. Inc., 100 F.3d 406, 412 (5th Cir. 1996). However, sanctions under

   the inherent authority can be levied against any actor responsible for the misconduct, including

   non-attorneys. See Bynum v. Am. Airlines, Inc., 166 F. App'x 730, 735 (5th Cir. 2006) (“One aspect

   of this inherent power is the power to impose sanctions, including attorneys' fees, on litigants for

   conduct that is in bad faith, vexatious, wanton, or undertaken for oppressive reasons.”); Clark v.

   Mortenson, 93 Fed. Appx. 643, 652 (5th Cir. 2004) (citing Chambers, 111 S. Ct. at 2135-36). In

   determining whether a party or counsel has acted in bad faith, “[c]ourts may make credibility

   determinations to resolve whether such misconduct has occurred.” Smith v. Am. Founders Fin.,

   Corp., 365 B.R. 647, 681 (S.D. Tex. 2007) (citing Whitehead v. Food Max of Miss., Inc., 332 F.3d

   796, 808-09 (5th Cir. 2003); Carroll v. Jaques Admiralty Law Firm, P.C., 110 F.3d 290, 293 (5th

   Cir. 1997); In re United Markets Int'l, Inc., 24 F.3d 650, 655 (5th Cir. 1994)).

          A court should use its inherent power to sanction only those individuals who have acted in

   bad faith or willfully abused the judicial process. “A decision to invoke the inherent power to

   sanction requires a finding of ‘bad faith or willful abuse of the judicial process [ . . . ]’” In re

   Moore, 739 F.3d 724, 729 (5th Cir. 2014) (quoting Gonzalez v. Trinity Marine Grp., Inc., 117 F.3d

   894, 898 (5th Cir. 1997)); but see Blanco River, LLC v. Green, 457 Fed. Appx. 431, 438 (5th Cir.

   2012) (quoting In re Sealed Appellant, 194 F.3d 666, 671 (5th Cir. 1999)) (“[w]hen bad faith is

   patent from the record and specific findings are unnecessary to understand the misconduct giving

   rise to the sanction, the necessary finding of ‘bad faith’ may be inferred.”) (alteration original,

   citation omitted). The court has already determined that each of the Respondents acted in bad

   faith. Doc. 283, p. 35, Doc. 294.




                                                   -11-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 12 of 30 PageID #: 12999




           The court recommends the imposition of sanctions today pursuant to its inherent powers

   because Rule 11 and Section 1927 are inadequate 15 to sanction the pervasive conduct at issue here,

   and because the court seeks to vindicate its prerogative to manage its docket in an orderly and

   expeditious way, finding today’s ruling “essential to preserve the authority of the court.” Scaife v.

   Associated Air Ctr. Inc., 100 F.3d 406, 411 (5th Cir. 1996). The court exercises these “inherent

   powers that are ‘governed not by rule or statute but by the control necessarily vested in courts to

   manage their own affairs so as to achieve the orderly and expeditious disposition of cases.’” Dietz

   v. Bouldin, 136 S. Ct. 1885, 1891 (2016) (quoting Link v. Wabash R.R. Co., 82 S. Ct. 1386 (1962)).

                                                             III.
                          APPLICATION OF LAW TO ADDITIONAL FACTS OUTLINED
                                 ABOVE AND IN EVIDENTIARY HEARING

           In the original Report and Recommendation, we noted that the Respondents made

   misrepresentations in this court and in the Fifth Circuit that there was “no writing” demonstrating

   that they were all aligned despite a written agreement between the Cox Firm and Porter, wherein

   Porter stipulated that he and Aeroframe would pay all Aeroframe employees’ claims out of any

   funds received by him or Aeroframe from the lawsuit. Doc. 283, p. 26. We also found that the

   Respondents had engaged in forum shopping by filing “multiple lawsuits against the same

   defendants alleging identical causes of action” in several different parishes. Id., p. 35. Those

   actions constituted “unreasonable and vexatious multiplication of the proceedings” entitling ATS

   to costs, expenses, and attorney fees under 28 U.S.C. § 1927. Id. We additionally recommended


   15
     In the original Report and Recommendation on Sanctions, we noted, “As our finding of bad faith is based on conduct
   that occurred throughout the course of this litigation, we do not find Rule 11 Sanction to be appropriate.” Doc. 283,
   p. 36, n. 34 (citing Childs v. State Farm Mut. Auto. Ins. Co., 29 F.3d 1018, 1024 (5th Cir. 1994)); Doc. 294. That
   decision also found that Respondents’ “each filing separate motions and memoranda throughout this proceeding that
   all made the same arguments as well as their decision to file multiple law suits against the same defendants alleging
   identical causes of action in furtherance of their forum shopping does indeed constitute unreasonable and vexatious
   multiplication of the proceedings as contemplated by 28 U.S.C. § 1927 [ . . . ]. Id., p. 35. However, sanctions under
   28 U.S.C. § 1927 may only be imposed upon attorneys, and the statute does not authorize a “wholesale reimbursement”
   of all or a portion of a party’s fees. Browning v. Kramer, 931 F.2d 340, 344-45 (5th Cir. 1991).

                                                           -12-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 13 of 30 PageID #: 13000




   sanctions due to the parties’ violation of Rule 3.3 and Rule 1.7 of the Louisiana Rules of

   Professional Conduct, which are incorporated into the Western District of Louisiana’s Local Rules

   through Rule 83.2.4. Id., pp. 36-37. Notably, we made an explicit finding that the Respondents

   had acted in bad faith “throughout the course of this litigation” and that the entire litigation was

   pursued solely for the benefit of Porter, Aeroframe, Filo, and Brown. Id., p. 35-36. Today we

   further find for the reasons detailed in Section I.A above, that the sanctioned conduct by

   Respondents has been ongoing through the present.

                                                IV.
                                      SOLIDARITY AND QUANTUM

          ATS seeks an award of the full sum of its attorneys’ fees and costs that ATS would not

   have incurred but for the misconduct of the Respondents, totaling $1,751,136.94 through August

   10, 2021, when it filed its second supplemental memorandum suggesting appropriate sanctions.

   Doc. 327. ATS suggests that the court should impose the sanctions award jointly and severally

   against the Respondents. Doc. 299, p. 8.

          “Because of their very potency, inherent powers must be exercised with restraint and

   discretion.” Chambers v. NASCO, Inc., 111 S. Ct. 2123, 2132 (1991). Sanctions imposed by this

   court “when imposed pursuant to civil procedures, must be compensatory rather than punitive in

   nature.” Goodyear Tire & Rubber Co. v. Haeger, 137 S. Ct. 1178, 1186 (2017). “A sanction counts

   as compensatory only if it is ‘calibrate[d] to [the] damages caused by’ the bad faith acts on which

   it is based.” Id. (quoting Int’l Union, United Mine Workers v. Bagwell, 114 S. Ct. 2552, 2561

   (1994))(alterations original).

          Generally, when a federal court exercises the inherent authority to sanction bad-faith

   conduct by ordering a litigant to pay the opposition’s legal fees, “such an order is limited to the

   fees the innocent party incurred solely because of the misconduct—or put another way, to the fees

                                                   -13-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 14 of 30 PageID #: 13001




   that party would not have incurred but for the bad faith. A district court has broad discretion to

   calculate fee awards under that standard.” Goodyear, 137 S. Ct. at 1183-84. In assessing which

   fees are attributable to the bad-faith conduct, the connection needs to be causal, rather than merely

   temporal. Goodyear, 137 S. Ct. at 1189. The court enjoys discretion with regard to how to tease

   out that causal connection:

              The court’s fundamental job is to determine whether a given legal fee—say,
              for taking a deposition or drafting a motion—would or would not have been
              incurred in the absence of the sanctioned conduct. The award is then the
              sum total of the fees that, except for the misbehavior, would not have
              accrued. But as we stressed in Fox, trial courts undertaking that task “need
              not, and indeed should not, become green-eyeshade accountants” (or
              whatever the contemporary equivalent is). “The essential goal” in shifting
              fees is “to do rough justice, not to achieve auditing perfection.”
              Accordingly, a district court “may take into account [its] overall sense of a
              suit, and may use estimates in calculating and allocating an attorney’s time.”
              The court may decide, for example, that all (or a set percentage) of a
              particular category of expenses—say, for expert discovery—were incurred
              solely because of a litigant’s bad-faith conduct. And such judgments, in
              light of the trial court’s “superior understanding of the litigation,” are
              entitled to substantial deference on appeal.

   Goodyear, 137 S. Ct. at 1187 (alterations and quotations original; internal citations omitted). In

   Goodyear, the United States Supreme Court absolved the district courts of the need to achieve

   “auditing perfection” in considering the causal link between particular legal fees and the

   sanctioned conduct. A court may make a blanket award of the innocent party’s entire legal fees

   and costs in the rare case in which an opponent’s entire course of conduct is exceptional and taints

   the whole legal proceeding with bad faith. Goodyear, 137 S. Ct. at 1187-88 (discussing Chambers

   v. NASCO, Inc., 111 S. Ct. 2123 (1991)).

          In Goodyear, the United States Supreme Court examined Chambers v. NASCO, Inc. as an

   example of the type of case in which a party’s entire course of conduct constitutes a “sordid

   scheme” to misuse the judicial process, warranting such a blanket award of attorney’s fees. Id. at



                                                   -14-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 15 of 30 PageID #: 13002




   1187-88 (quoting Chambers v. NASCO, Inc., 111 S. Ct. 2123, 2139 (1991)). 16 In Chambers, a

   defendant and his attorney engaged in a course of unethical conduct, including misrepresentations

   to the court and flouting of court orders, to defeat the court’s jurisdiction and undermine a valid

   claim stemming from an agreement to sell that the defendant refused to honor. Chambers, 111 S.

   Ct. at 2128-31. Distinguishing Chambers from the facts then before the Court, the Goodyear Court

   held that a blanket award of that sort was inappropriate where the sanctioned conduct stemmed

   from a discrete discovery abuse: non-disclosure of certain test results plaintiffs had requested early

   in the litigation and that, arguably, would have led to early resolution of the case. 137 S. Ct. at

   1184-85, 1189-90. The Goodyear Court emphasized that the correct legal standard required the

   court to find a “but for” causal link between the discrete misconduct and fees awarded, and that

   court could not sidestep this requirement even if district court found that the misconduct rose “to

   a truly egregious level.” Id. at 1189 (citation omitted).

            Considering Chambers and Goodyear together, the court finds that Respondents’ actions

   in this case—and in the 14 identical lawsuits filed in various courts—embody the type of

   exceptional litigation which justifies the shifting of all or a portion of a party’s fees “in one fell

   swoop” because the entire course of conduct of the Respondents was part of a sordid scheme to

   deprive this court of subject matter jurisdiction, deny ATS the forum of its choice, 17 impede this

   court’s ability to manage its own affairs expeditiously, and hamstring ATS by forcing it to defend


   16
      It is interesting to note that, like this matter, Chambers originated in the Lake Charles Division of the United
   States District Court for the Western District of Louisiana.
   17
      Respondents’ arrangement of this matter calls to mind Justice Alito’s dissent in Home Depot U. S. A., Inc. v. Jackson,
   139 S. Ct. 1743 (2019), in which he discussed a scholarly article outlining a “loophole” or “tactic” a plaintiff might
   use to avoid federal court jurisdiction in the context of the Class Action Fairness Act: “[t]hey could raise their class-
   action claim as a counterclaim and ‘hope that CAFA does not authorize removal.’ [ . . . ] In a single stroke, the article
   observed, a defendant's routine attempt to collect a debt from a single consumer could be leveraged into an
   unremovable attack on the defendant's ‘credit and lending policies’ brought on behalf of a whole class of plaintiffs—
   all in the very state courts that CAFA was designed to help class-action defendants avoid.” Id. at 1754–55 (Alito, J.,
   dissenting). Here, the Respondents are similarly clever manipulators of pleadings who colluded to deprive ATS of
   its right to litigate in federal court by manufacturing the appearance of non-diverse litigation.

                                                             -15-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 16 of 30 PageID #: 13003




   against unnecessarily multiplied proceedings that were meritless. 18 See Goodyear, 137 S. Ct. at

   1187-88 (discussing Chambers). Rather than a discrete abuse of the discovery process that the

   Court evaluated in Goodyear, these matters were marked from the beginning by a determination

   to tip the scales of justice in favor of Respondents.

           Having determined that the Respondents acted in bad faith as the court has done here, a

   court may levy sanctions against a party and its attorney(s) jointly and severally. See Allstate Ins.

   Co. v. Mader, 201 F. App’x 261, 265 (5th Cir. 2006) (holding that various mechanisms, including

   the inherent power, permit a court to hold an attorney jointly liable for sanctions with his clients,

   but only if the attorney has been shown to have engaged in bad faith conduct). We are mindful

   that parties with no involvement in management of litigation should not be sanctioned in solido.

   Clements v. Foti, No. 85-2155, 1987 WL 20117, at *3 (E.D. La. Nov. 18, 1987), aff'd in part, 869

   F.2d 1485 (5th Cir. 1989). Here, however, Respondents have each been found to have actively

   contributed to the sanctioned conduct. Docs. 283, 294.

        A. ATS’s fee submissions and argument supporting blanket award of fees and costs

           ATS submits that all of its legal fees from May 1, 2014, through July 31, 2021, totaling

   $1,751,136.94, would not have been incurred but for the sanctionable, bad-faith conduct of the

   Respondents. Docs. 299, 311, 327. We agree. There is no single transgression that gave rise to

   some discernable set of ATS’s litigation expenses. All of Respondents’ efforts to arrange this

   litigation to their satisfaction—starting with their decision to simultaneously represent both Roger

   Porter and Aeroframe’s former employees when in fact Aeroframe was the alter ego of Roger


   18
     Ashford v. Aeroframe Servs., LLC, No. 2:19-CV-610, 2021 WL 2389381, (W.D. La. Apr. 29, 2021) (“Ashford 2”),
   report and recommendation adopted, No. 2:19-CV-610, 2021 WL 2383912 (W.D. La. June 10, 2021) (recommending
   summary judgment in favor of ATS against non-ATS litigants in consolidated matters); see also Ashford v. Aeroframe
   Servs. LLC, No. 2:14-CV-00992, 2017 WL 2293109, at *1 (W.D. La. May 24, 2017), vacated and remanded, 907
   F.3d 385 (5th Cir. 2018) (granting ATS’s motion for summary judgment against Ashford, Aeroframe, and Porter,
   before remand of matter).

                                                         -16-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 17 of 30 PageID #: 13004




   Porter—were tainted by a bad-faith effort to gain advantage over ATS by whatever means

   necessary, with little or no regard to candor, professionalism, or judicial economy. “A party should

   not be penalized for maintaining an aggressive litigation posture. ‘But advocacy simply for the

   sake of burdening an opponent with unnecessary expenditures of time and effort clearly warrants

   recompense for the extra outlays attributable thereto.’” Batson v. Neal Spelce Assocs., Inc., 805

   F.2d 546, 550 (5th Cir. 1986) (quoting Lipsig v. Nat’l Student Mktg. Corp., 663 F.2d 178, 181

   (D.C. Cir.1980)).

               ATS submitted evidence in support of this amount, consisting of declarations by R. Patrick

   Vance 19 and Samuel B. Gabb, 20 both counsel for ATS, and the contemporaneous of billing records

   of their law firms. The redacted invoices of Jones Walker LLP from May 1, 2014, through July

   31, 2021, 21 and the invoices of Plauché, Smith & Nieset, LLC from September 1, 2014, through

   July 31, 2021 22 are among the exhibits attached to Mr. Vance’s and Mr. Gabb’s declarations. Jones

   Walker LLP’s invoices are submitted with some redactions of attorney-client privileged

   information. ATS also redacted and deducted fees for work not directly related to these cases for

   example, time on audit reports or presentations.




   19
        Declarations of R. Patrick Vance: Doc. 299, att. 1; doc. 302; doc. 311, att. 1; doc. 327, att. 1.
   20
        Declarations of Samuel B. Gabb: Doc. 299, att. 12; doc. 311, att. 4; doc. 327, att. 4.
   21
      Jones Walker Invoices: Doc. 299, att. 10 (spreadsheet of JW invoices dated 6/12/14 through 8/4/20); doc. 299, att.
   11 (JW invoices for services rendered 5/1/14 to 7/31/20); doc. 311, att. 2 (spreadsheet of JW invoices dated 10/1/20
   to 6/4/21 and showing corrections to original spreadsheet); doc. 311, att. 3 (JW invoices for services rendered 8/2/20
   to 5/7/21); doc. 327, att. 2 (spreadsheet of JW invoice dated 8/6/21 and summarizing prior spreadsheets); doc. 327,
   att. 3 (JW invoice for services rendered 6/1/2021 to 7/30/21).
   22
     Plauché, Smith & Nieset invoices: Doc. 299, att. 13 (spreadsheet of PSN invoices dated 12/10/14 to 7/21/20); doc.
   299, att. 14 (PNS invoices for services rendered 9/2/14 to 6/30/20); doc. 311, att. 5 (spreadsheet of PSN invoices dated
   10/1/20 to 6/15/21); doc. 311, att. 6 (PSN invoices for services rendered 7/1/20 to 5/28/21); doc. 327, att. 5
   (spreadsheet of PSN invoices dated 7/12/21 to 8/9/21 and summarizing prior spreadsheets); doc. 327 att. 6 (spreadsheet
   of PSN invoices for services rendered 6/1/21 to 7/15/21).

                                                                -17-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 18 of 30 PageID #: 13005




              1. The Declarations of R. Patrick Vance of Jones Walker, LLP

              ATS seeks sanctions reimbursing ATS for the Jones Walker’s team’s 4,498.45 hours of

   billed work performed by multiple timekeepers. Doc. 327. Mr. Vance declared that ATS sought

   his firm’s assistance after the plaintiffs filed the first several lawsuits because of the threat of treble

   damages and increasing potential liability. Doc. 299, att. 1, p. 2. The assistance of a large firm

   was thought necessary because of the number of suits, which were pending in multiple parishes.

   Id. Mr. Vance’s hourly rate when he first enrolled in these cases was $450; it later increased to

   $525. Id. Mr. Vance described the excellent credentials and experience of himself and the Jones

   Walker attorneys who assisted with the case; he listed their hourly rates, which ranged from $220

   (increased to $260) to $360 (increased to $395). Id. pp. 3-4.

              Mr. Vance submitted and attached evidence concerning the hourly rate for a senior partner

   with his degree of experience in the Lake Charles area. The evidence included summaries of

   caselaw concerning fee submissions from attorneys practicing in this area, as well as declarations

   from his personal inquiries.       Doc. 299, att. 1, pp. 4-6 (and referenced attachments).            The

   submissions suggest that the hourly rate for senior partners with 20+ years’ experience practicing

   in this area ranges from $275 to $450. The declaration notes that respondent Filo was recently

   awarded fees based upon an hourly rate exceeding $2,000 per hour. See Cox, Cox, Filo, Camel &

   Wilson, LLC v. Louisiana Workers’ Comp. Corp., 318 So. 3d 964, 969 (La. App. 3 Cir. 2021), writ

   granted, 319 So. 3d 279.

              Mr. Vance’s declarations attached a spreadsheets and invoices showing Jones Walker’s

   billings on these matters, partially redacted for attorney-client privilege. 23 He also explained that

   the billings did not include time spent on initial state-court responsive pleadings or in the early


   23
        See nn. 19, 21, supra

                                                      -18-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 19 of 30 PageID #: 13006




   deposition of ATS’s corporate representative before Mr. Vance became suspicious about the

   motivation behind the suits. Doc. 299, att. 1, p. 7.

              2. The Declarations of Samuel B. Gabb of Plauché, Smith & Nieset, LLC

              ATS also seeks sanctions reimbursing ATS for the legal fees and costs incurred by Lake

   Charles law firm Plauché, Smith & Nieset, LLC, whose multiple timekeepers—primarily Mr.

   Gabb—collectively billed 597.7 hours over the course of the litigation. Doc. 327. ATS submitted

   declarations of Samuel Gabb, a senior partner at that firm, who declared that from December 10,

   2014 to July 31, 2021, his firm billed ATS’s insurer $150,769.88 in fees and $2,365.98 in taxable

   costs. Doc. 299, att. 12, pp. 1-2; Doc. 311, att. 4; Doc. 327, att. 4. Mr. Gabb’s declarations attach

   invoices and explanatory spreadsheets. 24

          B. Respondents’ responses to ATS’s submissions

              In response to ATS’s submissions, Respondents make several arguments. Respondents

   argue that sanctions are not appropriate here because Aeroframe and its counsel presented the court

   with good-faith arguments about which there was a genuine dispute, and that the sanctions are

   based on a misunderstanding or mischaracterization of the words Filo and Brown used in this court

   and before the Fifth Circuit.       See, e.g., Doc. 315, p. 7, 10-13.     The original Report and

   Recommendation on sanctions explicitly or implicitly rejects those arguments, and they will not

   be addressed in great detail here. Docs. 283, 294. However, the court wishes to place special

   emphasis on the fact that Respondents are still singing—with no hint of self-consciousness—the

   old refrain that they have done nothing wrong.

              Respondents also argue that ATS has submitted an insufficiently particularized claim for

   attorneys’ fees, that ATS unnecessarily drove up litigation costs and failed to mitigate its own


   24
        See nn. 20, 22, supra.

                                                    -19-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 20 of 30 PageID #: 13007




   damages, and that Rule 11 and 28 U.S.C. § 1927 limit the sanctions quantum and scope. The court

   rejects these arguments but addresses each below.

          1.         Respondents argue that there was a good-faith basis for their jurisdictional
                     arguments, and that sanctions are therefore inappropriate.

           Each opposition memorandum features the argument that the Respondents had a good

   faith basis for the substantive arguments raised against ATS in connection with the jurisdictional

   dispute that brought them to the Fifth Circuit for the Ashford 1 remand decision. Ashford v.

   Aeroframe Servs., L.L.C., 907 F.3d 385 (5th Cir. 2018)(“Ashford 1”).           Respondents argue,

   therefore, that it would be inappropriate to issue sanctions for any work performed in connection

   with the jurisdictional dispute.     See Doc. 315, pp. 7-10, 14-15 (“ATS is even seeking

   reimbursement of attorney fees relative to the legitimate jurisdictional defenses of Aeroframe.”);

   Doc. 317, p. 8.

          Aeroframe notes that the Fifth Circuit agreed with their contention that there was no

   jurisdiction in Ashford 1. Doc. 315, p. 7. Porter suggests that “ATS is contending that the

   respondent parties and their counsel should have ignored the fact that the Fifth Circuit agreed with

   their contention that there was no jurisdiction” in Ashford 1. Doc. 316, p. 7. Brown and Filo argue

   that it is improper to seek reimbursement (through sanctions) for fees charged on the 5th Circuit

   appeal because appellants prevailed and this court’s denial of the motion to remand was vacated.

   Doc. 317, p. 8.

          The court has already determined that the Respondents succeeded in obtaining the Ashford

   1 remand because of a series of bad-faith misrepresentations they made to both this court and the

   appellate court. Doc. 283. The court will not reiterate those findings here, but the court will note

   that the appellate court’s acceptance of these misrepresentations as true did not convert them into

   truths or throw a cloak of good faith over them.

                                                   -20-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 21 of 30 PageID #: 13008




              In a variation on the theme that they should not be penalized for their good faith arguments,

   Respondents argue that Brown and Filo’s statements have been generally misunderstood and

   mischaracterized. Doc. 315, p. 10-14. Respondents argue that they must have conveyed the

   essential facts to the Fifth Circuit because that court understood at oral arguments that Porter had

   agreed to subordinate his claim to the Aeroframe employees’ claims. Doc. 315, pp. 12-13; Doc.

   316, p. 7-8. Aeroframe recites what Filo and Brown said when and to whom regarding the

   alignment of the parties, concluding, “Nowhere do the parties state that there is not an agreement,

   in fact, the quoted language above proves otherwise. What the parties state unequivocally is that

   there is not a settlement between the parties.” Doc. 315, p. 10 (emphasis added). Aeroframe argues

   that it is in fact ATS who is being misleading by claiming to have been by mislead by Brown’s

   statements. Doc. 315, p. 10-11.

              The fact that Respondents continue to advance the argument that they never made any

   misrepresentation prompts a response. Setting aside Respondents’ direct lies to the court that no

   subordination agreement existed (when in fact it did), 25 the court notes that it is possible to make

   a truthful statement that is nonetheless misleading. The term for this phenomenon is “paltering.”

   “Paltering is the active use of truthful statements to convey a misleading impression.” Todd

   Rogers et al., Artful Paltering: The Risks and Rewards of Using Truthful Statements to Mislead

   Others, 112 J. PERSONALITY & SOC. PSYCHOL., 456, 456 (2017). To the extent that Respondents

   continue argue that Brown and Filo said the literal truth when they used the word “settlement”

   rather than the word “agreement,” in discussions with this court and the Fifth Circuit about the

   alignment of the parties, the court now clarifies that paltering will not be tolerated in this court.

   The duty of candor to the court includes the duty not to palter to the court.


   25
        See Doc. 283 at pp. 7-8.

                                                      -21-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 22 of 30 PageID #: 13009




            Finally, Filo and Brown appear to argue that it is irrelevant that they made

   misrepresentations because the ultimate outcome at the Fifth Circuit would have been the same

   whether or not ATS had the Cox-Porter retention agreement in hand at the time Ashford 1 was

   argued. In arguing that ATS has not shown that particular expenses were directly caused by

   attorney misconduct, Filo and Brown argue that “[e]ven if ATS’s earlier knowledge of the Cox-

   Porter Retention Agreement would have been additional evidence for ATS to point to, ATS still

   would have made the same arguments for removal. ATS therefore has not and cannot show that

   its ‘expenses or costs were caused by’ the conduct of the attorney.” Doc. 317, p. 9 (quoting

   Topalian v. Ehrman, 3 F.3d 931, 937 (5th Cir. 1993)(emphasis original)).

            There are two flaws with this argument. First, Respondents cannot know what the outcome

   at the Fifth Circuit would have been if they had not made the sanctioned misrepresentations.26

   Second, this argument entirely misses the point of the sanctions recommendation. Respondents

   actively misled two courts through their misrepresentations. Lies to the court—especially ones

   undertaken under the cloak of attorney-client privilege—take so much effort to uncover that when

   they are uncovered they must be robustly sanctioned. See Brown v. Oil States Skagit Smatco, 664

   F.3d 71, 78-80 (5th Cir. 2011). To say that misrepresentations were inconsequential because they

   did not affect the ultimate outcome is to suggest that the duty of candor itself is on a sliding scale.

   This is part of the reason why the court today recommends that the Respondents be sanctioned “in

   one fell swoop,” as discussed elsewhere in this opinion. Goodyear Tire & Rubber Co. v. Haeger,


   26
      In our ruling on jurisdiction in Ashford 2, we found these parties have been aligned since inception of this litigation,
   reversing our previous finding to the contrary in Ashford 1. The reversal was prompted by a wealth of information
   uncovered by ATS while monitoring litigation between Porter and AAR Corporation, a competitor of ATS with whom
   Porter negotiated sale or takeover of Aeroframe operations while doing the same with ATS. See generally Roger
   Porter v. AAR Aircraft Services, Inc., et al, 15-cv-02780, United States District Court for the Western District of
   Tennessee. Additional information was obtained by ATS when conducting discovery in preparation for hearing of
   the motion currently before us. Although our jurisdictional finding in Ashford 2 was based on the parties’ pre-litigation
   alignment, we did speculate on what effect the June 4, 2014, Cox-Porter Retention Agreement may have had before
   the Fifth Circuit. See Ashford 2, doc. 62, pp. 21-28, adopted by the district court at doc. 69.

                                                              -22-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 23 of 30 PageID #: 13010




   137 S. Ct. 1178, 1187 (2017). The whole of this unnecessarily multiplied litigation would not

   have existed if Respondents had undertaken the litigation with the proper deference for this or any

   other forum and with the proper attention to the duties that should have guided the conduct of Filo

   and Brown.

          2.      Respondents argue that ATS has submitted an insufficiently particularized
                  claim for attorneys’ fees.

          Relying heavily on Topalian v. Ehrman, 3 F.3d 931 (5th Cir. 1993), Respondents argue

   that the court’s sanction award “should be tailored to fit the particular wrong.” Id. at 936.

   Respondents argue that ATS has submitted insufficiently particularized claims for all its attorneys’

   fees beginning on May 1, 2014, and that this is impermissible because Topalian requires ATS to

   demonstrate a connection between the quantum and the sanctionable conduct. Doc. 315, p. 14,

   17; Doc. 316, p. 4-7; Doc. 317, p. 4-7 (“There is no explanation of how specific acts have had an

   impact on ATS or how they have made specific legal fees necessary that would not have otherwise

   been necessary.”).

          The court reiterates that, under Goodyear, “the court can shift only those attorney’s fees

   incurred because of the misconduct at issue,” requiring an assessment and allocation of specific

   litigation expenses, but “[i]n exceptional cases, the but-for standard even permits a trial court to

   shift all of a party's fees, from either the start or some midpoint of a suit, in one fell swoop.”

   Goodyear, 137 S. Ct. at 1186-87. This litigation was conceived as an attempt to avoid federal

   jurisdiction by concealing the true alignment of the non-ATS parties, and it progressed via

   unnecessarily multiplied motion practice designed to wear ATS down. Respondents have largely

   neglected the true interests of the former Aeroframe employees such as Mr. Ashford. The

   misconduct at issue so thoroughly infects the proceedings that it is near impossible to locate

   legitimate advocacy in the midst of that misconduct. The court has reviewed the fee submissions

                                                   -23-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 24 of 30 PageID #: 13011




   from ATS, and the court finds that all of the legal fees incurred by ATS from May 1, 2014, onward

   were caused by the conduct being sanctioned today, as described in the court’s original Report and

   Recommendation on sanctions. Doc. 283.

            3.      Respondents argue that ATS unnecessarily drove up litigation costs and failed
                    to mitigate its own damages.

            Aeroframe argues that ATS generally failed to mitigate its damages as required by Thomas

   v. Capital Sec. Servs., Inc., 836 F.2d 866, 879 (5th Cir. 1988). Doc. 315, p. 6. Aeroframe and

   Porter argue that ATS unnecessarily drove up its own litigation costs by improperly removing all

   14 Aeroframe cases to federal court, forcing Respondents to have to litigate jurisdiction. Doc.

   315, pp. 7-8; Doc. 316, pp. 7-8. Respondents argue that ATS multiplied its own damages by

   neglecting to issue formal discovery requesting production of the subordination agreement. See,

   e.g., Doc. 315, p. 10, 13, 15. Porter argues that “ATS has admitted that it never made any request

   for any document referenced by the Somer Brown email,” and speculates that if ATS had done its

   due diligence and asked for that document, it would have been able to present the Ashford 1 court

   with more competent jurisdictional evidence, thereby potentially mitigating its damages. 27 Doc.

   316, pp. 8-9. Brown and Filo note that, “There is no reason for ATS to have not asked for the

   retention agreement back in 2014. ATS admits now that it never made a discovery request [ . . .]

   ATS’s complete failure to mitigate completely undermines its request for virtually all of its legal

   fees since 2014.” Doc. 317, p. 9-10. Aeroframe scornfully argues that “ATS now seeks sanctions

   for their respective neglect.” Doc. 315, p. 15.




   27
      This argument is at odds with Filo and Brown’s argument that early production of the retention agreement was
   inconsequential. They argue, “[e]ven if ATS’s earlier knowledge of the Cox-Porter Retention Agreement would have
   been additional evidence for ATS to point to, ATS still would have made the same arguments for removal. ATS
   therefore has not and cannot show that its ‘expenses or costs were caused by’ the conduct of the attorney.” Doc. 317,
   p. 9.

                                                           -24-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 25 of 30 PageID #: 13012




          The case to which Respondents cite deals specifically with the imposition of sanctions

   under Fed. R. Civ. P. 11. Thomas, 836 F.2d at 879. “A party seeking Rule 11 costs and attorney's

   fees has a duty to mitigate those expenses, by correlating his response, in hours and funds

   expended, to the merit of the claims.” Id. The Thomas decision discusses the speed and diligence

   with which a party must bring a Rule 11 violation to the court’s attention, reasoning, “an attorney

   may not remain idle after a ‘motion, pleading, or other paper’ filed in violation of Rule 11 by his

   opponent has come to his attention[,]” because the duty of mitigation “rests on the concept that the

   victim of a frivolous lawsuit must use reasonable means to terminate the litigation and to prevent

   the costs of that frivolous suit from becoming excessive.” Id.

          It seems reasonable that the duty to mitigate damages should also apply—to the extent

   possible—in the context of sanctions under the court’s inherent authority. See, e.g., Carroll v.

   Jaques, 926 F. Supp. 1282, 1291 (E.D. Tex. 1996), aff'd 110 F.3d 290. But we must also consider

   that the court exercises its inherent authority to sanction “conduct which abuses the judicial

   process.” Chambers v. NASCO, Inc., 111 S. Ct. 2123, 2132-33 (1991). A party’s ability to mitigate

   against willful abuse of the judicial system must necessarily be limited.

          The court rejects the argument that ATS failed to mitigate its damages, finding instead that

   ATS’s counsel responded appropriately and with diligence and speed to the actions of

   Respondents. Respondents chose to file 14 identical lawsuits in various jurisdictions, and ATS

   removed them. The natural consequence of removing multiple actions to a single forum would be

   to allow for their more orderly disposition. No one (Respondents excepted) could have predicted

   at the time of removal that subject matter jurisdiction would be contested seven years later, or that

   Respondents would resort to misrepresentation to defeat federal diversity. It is not possible to




                                                   -25-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 26 of 30 PageID #: 13013




   speculate that ATS could have more effectively mitigated its damages when faced with the

   litigation tactics Respondents employed.

          The court finds it extraordinary that Respondents suggest that ATS neglected its duty to

   mitigate its damages by failing to request the written subordination agreement via written

   discovery. To assume that ATS might have turned it up with a well-worded discovery request is

   to also assume that Respondents would have produced it on request, which this court is not

   prepared to do, given the determinations we have already made. Docs. 283, 294. As discussed in

   the original Report and Recommendation on Sanctions, the Respondents insisted that there was no

   such writing in open court to this court and to the Fifth Circuit. Doc. 283, pp. 7-23. The court is

   not convinced that Respondents’ duty to respond to discovery would have compelled them to

   disclose what their duty of candor to the court did not.

          4.      Respondents argue that Rule 11 and 28 U.S.C. § 1927 limit the sanctions’
                  quantum and scope.

          Respondents’ briefs discuss on limits placed on the court’s ability to impose sanctions

   under Rule 11 and 28 U.S.C. § 1927. Doc. 315, p. 6-8, 14; Doc. 316, p. 7; Doc. 317, p. 7. These

   arguments fall into three categories: that sanctions must be limited to fees incurred in this court

   (not at the Fifth Circuit or in state court), that sanctions under Rule 11 must be tied to particular

   pleadings, and that sanctions under Section 1927 must be directed only at attorneys, not parties.

   Because the latter two arguments do not directly address limitations placed on the court’s use of

   inherent powers, the court does not address these arguments at length.

          Respondents cite Conner v. Travis County, 209 F.3d 794 (5th Cir. 2000) for the proposition

   that ATS may not recover for fees incurred in connection with the Fifth Circuit appeal. Doc. 316,

   p.7; doc. 317, p. 7. ATS estimates that approximately $228,000 of the submitted fees were incurred

   in connection with appellate work, and that Chambers v. NASCO, Inc., 111 S. Ct. 2123, 2132-33

                                                   -26-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 27 of 30 PageID #: 13014




   (1991) rejects the argument that the court cannot impose sanctions for conduct occurring before

   other tribunals. Doc. 320, pp. 8-9. In Chambers, the Supreme Court held that, “as long as a party

   receives an appropriate hearing, as did Chambers, [ . . . ] the party may be sanctioned for abuses

   of process occurring beyond the courtroom, such as disobeying the court’s orders.” Chambers,

   111 S. Ct. at 2139.

          The Fifth Circuit in Conner discussed and distinguished Chambers, noting that, where

   activity outside the forum was concerned, the Fifth Circuit limited Chambers’ reach to those

   actions undertaken in direct contravention of the forum court’s orders:

              Case does not directly preclude the district court's sanction award here, as
              the sanctions directly arose from litigation before the court. Nevertheless,
              the sanctions do not fit within the example of permissible sanctions which
              Chambers provided: actions taken in another forum “in direct contravention
              of the District Court's orders.”

   Conner v. Travis Cty., 209 F.3d 794, 800 (5th Cir. 2000) (quoting Chambers, 111 S. Ct. at 2139,

   and discussing Matter of Case, 937 F.2d 1014 (5th Cir.1991). However, the Conner court also

   described its holding as determination that district court “sanctions on the basis of a frivolous

   appeal are improper.” Conner v. Travis Cty., 209 F.3d 794, 801 (5th Cir. 2000).

          The behavior the court seeks to sanction today is distinct from the discrete litigation

   decision of undertaking a frivolous appeal.           As detailed in the original Report and

   Recommendation on sanctions, the court sanctions Respondents’ years-long course of conduct

   based on evidence of bad faith throughout the litigation. Docs. 283, 294. These circumstances are

   different from the limited problem posed by a single meritless appeal—which the appellate court

   would doubtless be best able to judge—because this sanction award is aimed at a gestalt of bad-

   faith behaviors that happened to sweep the litigants to the appellate level several times. For that

   reason, we conclude that it is appropriate to award sanctions in the amount of fees ATS incurred



                                                  -27-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 28 of 30 PageID #: 13015




   at the appellate level because they were incurred as a result of a larger scheme of “abuses of process

   occurring beyond the courtroom,” rather than as a result of a single ill-conceived decision to

   appeal. Chambers, 111 S. Ct. at 2139.

          Respondents cite Foval v. First National Bank of Commerce in New Orleans, 841 F.2d 126

   (5th Cir. 1983) for the proposition that ATS may not recover for fees incurred in state court. Doc.

   315, pp. 7-8, 14; doc. 316, p. 6; doc. 317, p. 7. ATS asserts in response that,

              ATS is not seeking fees and costs for actions taken by ATS in state court.
              Rather, as the invoices show and as Mr. Vance states in his Original
              Declaration (Rec. Doc. 299-1) and testified in his deposition (Rec. Doc.
              317-1), ATS is requesting costs and fees starting with its proper removal of
              cases to federal court in May of 2014.

   Doc. 320, p. 5. The court’s review of the submitted invoices confirms that the fee submissions

   start with ATS’s preparations to remove the cases and that ATS does request to recover for fees

   incurred in connection with activities before the state courts.

                                                    V.
                                              CONCLUSION

          For the reasons set forth in the original Report and Recommendation (docs. 283, 294), and

   supplemented herein, we conclude and recommend the district court agree that this litigation is the

   sort of “exceptional case[]” that was litigated by the Respondents “in complete bad faith, so that

   every cost of [litigating it once the obstructionism began] is attributable to sanctioned behavior.”

   See Goodyear, 137 S. Ct. at 1187-88. The court finds that the Jones Walker law firm was brought

   into this litigation as a direct result of the unnecessary multiplication of proceedings. The court

   further finds that ATS would not have incurred the Jones Walker and Plauché, Smith & Nieset

   fees commencing on May 1, 2014, but for the sanctionable conduct described in the original Report

   and Recommendation on sanctions. Docs. 283, 294.




                                                    -28-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 29 of 30 PageID #: 13016




          This conduct includes bad faith actions to deny ATS its right to litigate in a federal forum,

   including misrepresentations to the court regarding the alignment of the parties and unnecessary

   multiplication of proceedings by filing 14 separate lawsuits where one lawsuit would do. It was

   apparent to the court early on that “[t]his entire litigation has been one huge exercise in bad faith

   designed to prevent removal engaged in by all non-ATS parties and attorneys Brown and Filo."

   Ashford v. Aeroframe Servs., LLC, No. 2:19-cv-610 (“Ashford 2”) Doc. 62, p. 29 (W.D. La. May

   26, 2020). The one factor that finding does not include but that would be pertinent at the end of

   the day is our conclusion that none of the claims of any of the non-ATS litigants against ATS had

   any merit at all. See Ashford v. Aeroframe Servs., LLC, No. 19-CV-610, 2021 WL 2389381, (W.D.

   La. Apr. 29, 2021), report and recommendation adopted, No. 19-CV-610, 2021 WL 2383912

   (W.D. La. June 10, 2021) (granting summary judgment in favor of ATS against non-ATS litigants

   in consolidated matters).

          The court further finds and further suggests the district court agree that ATS’s attorneys’

   fees and costs were reasonably incurred. An examination of the record shows the quality of the

   work submitted by ATS’s attorneys and the diligence with which it is undertaken. Having had the

   opportunity to observe this work on a contemporaneous basis, the court finds it to be high quality

   and deserving of the hourly rates charged by the firms, which are compatible with the prevailing

   rates in the Lake Charles area.

          The court recommends sanctions today pursuant to its inherent power to do so. This power

   is considered inherent because it is among the powers that are necessary to the proper functioning

   of a court of justice—powers that allow the court to impose order, respect, decorum, and to ensure

   compliance with lawful orders.




                                                   -29-
Case 2:14-cv-00992-DEW-KK Document 339 Filed 02/04/22 Page 30 of 30 PageID #: 13017




          We recommend that judgment be rendered herein in favor of AVIATION TECHNICAL

   SERVICES, INC. jointly and severally against SOMER BROWN, THOMAS A. FILO, ROGER

   A. PORTER, and AEROFRAME SERVICES, LLC, in the full and true sum of ONE MILLION

   SEVEN HUNDRED FIFTY-ONE THOUSAND ONE HUNDRED THIRTY-SIX AND 94/100

   ($1,751,136.94) DOLLARS, together with interest under 28 U.S.C. § 1961, running from the date

   of judgment until paid.

           Pursuant to 28 U.S.C. § 636(b)(1)(C) and Rule 72(b) of the Federal Rules of Civil

   Procedure, the parties have fourteen (14) days from receipt of this Report and Recommendation to

   file written objections with the Clerk of Court. Failure to file written objections to the proposed

   factual findings and/or the proposed legal conclusions reflected in this Report and

   Recommendation within fourteen (14) days of receipt shall bar an aggrieved party from attacking

   either the factual findings or the legal conclusions accepted by the District Court, except upon

   grounds of plain error. See Douglass v. United Services Auto. Ass’n, 79 F.3d 1415, 1428–20 (5th

   Cir. 1996), superseded by statute on other grounds, 28 U.S.C. § 636(b)(1)), as recognized in Cruz

   v. Rodriguez, 828 F. App’x 224, 2020 WL 6478502 (5th Cir. 2020) (unpubl.).

          THUS DONE AND SIGNED in Chambers this 4th day of February, 2022.




                                                  -30-
